      Case 1:06-cv-02031-RCL         Document 195       Filed 12/30/14    Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


KATHY RADTKE, et al.,                      )
                                           )
       Plaintiffs,                         )
                                           )
              v.                           )      Civil Action No. 06-2031 (JMF)
                                           )
MARIA CASCHETTA, et al.,                   )
                                           )
       Defendants.                         )



                                          ORDER

       In accordance with the accompanying Memorandum Opinion, it is, hereby,

       ORDERED that Plaintiffs’ Motion and Memorandum in Support Thereof for Attorney’s

Fees and Costs [#167] is GRANTED in part and DENIED in part. It is further, hereby,

       ORDERED that plaintiffs be awarded the following in attorney’s fees and costs:

Attorney’s Fees ($255,898.80 x .235)                                               $56,474.70
Costs ($350.00 + $1,771.00 + $400.49)                                               $2,521.49
TOTAL                                                                              $58,996.19
                                                                     Digitally signed by John M. Facciola
                                                                     DN: c=US, st=DC, l=Washington,
       SO ORDERED.                                                   email=John_M._Facciola@dcd.usco
                                                                     urts.gov, o=United States District
                                                                     Court, cn=John M. Facciola
                                                                     Date: 2014.12.30 16:32:03 -05'00'
                                                  ___________________________________
                                                  JOHN M. FACCIOLA
                                                  UNITED STATES MAGISTRATE JUDGE
